Case: 1:17-md-02804-DAP Doc #: 1964-101 Filed: 07/23/19 1 of 4. PageID #: 166821




                               EXHIBIT 
            Case: 1:17-md-02804-DAP Doc #: 1964-101 Filed: 07/23/19 2 of 4. PageID #: 166822

                                              Portfolio Scoring Worksheet
Project Name:            Suspicious Order Monitoring                                 Program Name:            Health & Wellness Logistics
                          Overall Project Score :    65
Corporate Governance Scoring Section
Improve Program Effectivenes
                                                                                                                                               Score
Improves Governance Program Maturity
0 = No                                                                                                                                           3
3 = Yes

Improves our Business Processes for Governance
0 = No                                                                                                                                           3
3 = Yes

Improves our Information usage for Governance
0 = No                                                                                                                                           3
3 = Yes

                                                                                                                              Section Totals    45
                                                                                                              Section Weight and Total Score     5
Explanation and Justification for Score
Must provide the business plan for how this initiative will improve one of the three areas listed above.




Risk Reduction (Existing or Emerging)
                                                                                                                                               Score
Is this a New or Emerging Risk?
1 = No
                                                                                                                                                 3
3 = Existing
5 = New / Emerging

Is the Risk being mitigated today by manual, systematic, or a combination of both today (regardless if optimal or not)?
  0 = Yes, with existing system and manual processes; just not optimal
  1 = Yes with an existing system with no manual processes                                                                                       5
  3 = Yes, but manually with no existing system
  5 = No, Emerging Risk that has no processes in place today


What is the likelihood that the events or conditions underlying the Risk will occur?
 1 = Remote
 2 = Unlikely
                                                                                                                                                 4
 3 = Possible
 4 = Likely
 5 = Almost Certain

What is the potential financial or reputational impact to the company if the events or conditions occur?
 1 = Minimal
 2 = Significant
                                                                                                                                                 4
 3 = Material
 4 = Severe
 5 = Catastrophic



Will this effort mitigate any other Risk outside of your area?
(If answered, YES, you must list in the Explanation the other Risk(s) being mitigate in the other area(s)).
                                                                                                                                                 0
  0 = No
  5 = Yes


                                                                                                                              Section Totals    100
                                                                                                              Section Weight and Total Score     20
Explanation and Justification for Scores
            Case: 1:17-md-02804-DAP Doc #: 1964-101 Filed: 07/23/19 3 of 4. PageID #: 166823
Controlled Substance Risk Assessment, Item 1




Mandated or Executive Decree
                                                                                                                                             Score
What is the extent of the Legal or Regulatory requirement?
(If there are global implications, you must list the impacted countries and how they are impacted.)
  1 = Local (Single State or Province)
  2 = Multiple States / Province                                                                                                               3
  3 = National
  4 = Multiple Countries
  5 = Global


Is the effort related to a settlement agreement with a Government Agency, Court Order, or Consent Decree?
(The Court Order or Consent Decree must be given along with the effective and expiration date.)
                                                                                                                                               5
  0 = No
  5 = Yes



Is this effort Executive directed?
Must provide the Executive directive given.
                                                                                                                                               5
  1 = No
  5 = Yes



Is this effort Board directed or informed?
Must provide the Executive or Board directive given.
  1 = No                                                                                                                                       3
  3 = Board Informed
  5 = Board Directed




Is there a Required Effective Date mandated by Legal or Regulation(s)?
Provide Date {Input}




Is there a system "readiness date"? A date that the list must be in place.
Provide Date {Input}

                                                                                                                            Section Totals    105
                                                                                                            Section Weight and Total Score     37
Explanation and Justification for Score
21 CFR 1301.74(b), DEA Memorandum of Agreement effective 3/17/11 - 3/17/15



Corporate or Business Unit Strategic Alignment
                                                                                                                                             Score

Effort may also be identified as one of the following;
 1 = Builds Governance awareness
                                                                                                                                               2
 2 = Enhances Governance Maturity
 3 = Strategic Alignment with Business Operations

Is the effort ensuring alignment or compliance to a Corporate Policy or Directive?
(If Yes, must provide the Corporate Policy Name and ID and/or Directive)
                                                                                                                                               3
  1 = No
  3 = Yes


This initiative will assist in achieving the business unit's goals and/or objectives.
(Aligning goals and/or objectives must be provided.)
                                                                                                                                               3
 1 = No
 3 = Yes

                                                                                                                            Section Totals    24
            Case: 1:17-md-02804-DAP Doc #: 1964-101 Filed: 07/23/19 4 of 4. PageID #: 166824
                                                                       Section Weight and Total Score    4
Explanation and Justification for Score
POM 807 and POM 1305




SECURITY

Is the effort designed to mitigate physical security risks?
  0 = No                                                                                                 5
  5 = Yes




Is the effort designed to mitigate health or safety risks?
  0 = No                                                                                                 5
  5 = Yes




Is the effort designed to mitigate fraudulent activities?
  0 = No                                                                                                 5
  5 = Yes


                                                                                       Section Totals   150
                                                                       Section Weight and Total Score    30
Explanation and Justification for Score
21 CFR 1301.74 (b)
